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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

John P. Fazzio III, Esq.
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MACIAG LAW, LLc
475 Wall StIeet
Princeton, New Jersey 08540
(908) 704-8800
Proposed Counsel to the Debtor-in-Possession
‘In re: b Case No.: 8-18-72852
DOREEN HOFFMAN Chapter 11
Debtor-in-Possession. Judge:Hon. Robert E. Grossman
DEBTOR'S DECLARATION

PURSUANT TO LOCAL BANKRUPTCY RULE 1007-4

STATE OF NEW YORK )

) ss.:

COUNTY OF SUFFOLK )

I, Doreen Hoffman, declare as follows:

1.

I am an individual Chapter 11 Debtor-in-Possession, and I submit this application in
accordance with Local Banlcruptcy Rule 1007-4 of the Local Rules for the United States
Banlcruptcy Court for the Eastem Disu'ict of New York. I am not a small business debtor
within the meaning of 11 U.S.C. §101(51D) . LBR 1007-4(a)(1)

INTRODUCTION

2. I am a wage earner. I filed the instant petition for Chapter 1 l Reorganization because my

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residence at 163 Roe Avenue, Patchogue, New York 11772, was about to be sold in a
foreclosure sale. 'Ihe lengthy, lingering terminal illness of my husband, and his passing
away, wiped out much of our savings, and reduced our monthly income, causing our
home to go into foreclosure LBR 1007-4(a)(ii) .

This case was not originally commenced under Chapter 7, 12 or 13 . LBR 1007-4(¢¢)(1'¢°¢') .

No Committee was formed prior to the entry of the order for relief in this case. LBR
1007-4(¢)(iv) .

A true List of` my 20 Largest Creditors was filed contemporaneously with the instant
Petition, on Apri126, 2018. LBR 1007-4(a)(v) .

A true List of Secured Creditors was filed as Schedule D with the instant Petition, on
April 26, 2018. My 163 Roe Avenue, Patchogue, NY property is valued at approximately
$427,500.00 and according to the first mortgagee, Wells Fargo Bank, N.A. as Servicer for
U. S. BankNational Association, there is a claim by said first mortgagee for approximately
$665,258.0. There is also a second mortgage to Henry Weinstein in the approximate
amount of $100,000.00, which is wholly unsecured given the senior lien of the first
mortgagee LBR 1007-4(a)(vi) .

A true Summary of my Assets and Liabilities, as detailed at Schedules A, B, D, E, and F,
was filed contemporaneously with the instant Petition, on Apri126, 2018. The 163 Roe
Avenue, Patchogue, NY property is valued at approximately $427,500.00 and according
to the first mortgagee, Wells Fargo Bank, N.A. as Servicer for U.S. Bank National
Association, there is a claim by said first mortgagee for approximately $665,25 8.0. There
is also a second mortgage to Henry Weinstein in the approximate amount of $ 100,000.00,
which is wholly unsecured given the senior lien of the first mortgagee . LBR 1007-

4(a)(vii).

I, the Debtor, am an individual; thus there are no shares of stock or debentures, or other
securities of the Debtor. LBR 1007-4(a)(viii) .

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None of my property is presen$tly in the possession of custody of a custodian. LBR 1007-
4(a)(ix).

I am a wage earner, and thus do not operate a business from any premises LBR 1007-

4(a)(x).

My assets, books and records, are located at my home, at 163 Roe Avenue, Patchogue,
NY (other than the financial accounts on deposit at the respective financial institutions
set forth on Schedules A/B filed contemporaneously with the Petition, as incorporated
herein by reference). I hold no assets outside of the tenitorial limits of the United States.
LBR 1007-4(¢1)(»') .

The only action or proceeding is the foreclosure action “U.S. Bank, N.A., as Legal Title
Trustee for Truman 2013 SC3 Title Trust, Plaintiff vs. Doreen Hoff`man, et al.,
Defendants”, as presently pending in the Supreme Court of the State of New York,
County of Suffolk, Index No. 070274/2014, which is a foreclosure action brought by the
First Mortgagee on my residence at 163 Roe Avenue, Patchogue, NY. LBR 1007-

4 (a)(xii) .

I am an individual and a wage earner; thus there are no senior management personnel of
the Debtor. LBR 1007-4(a)(sa°ii) .

I am an individual and a wage earner; thus I have no weekly payroll to employees,
ofiicers, directors, etc . LBR 1007-4(a)(x1'v) .

I am an individual and a wage earner; thus there are and were no amounts paid or
proposed to be paid to of`ficers, directors, partners, or financial consultants during the 30-
day period after filing this Petition. LBR 1007-4(¢1)(xv) .

I am an individual and a wage earner; thus the estimated schedule of cash receipts and
disbursements for the thirty (30) day period following the filing of the Chapter l 1 petition,

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net cash gain or loss, obligations and receivables expected to accrue but remaining
unpaid, other than professional fees is as set forth in Schedules I and J, as filed
contemporaneously with the instant Petition on April 26, 2018. LBR 1007-4(a)(xvi) .

17 . It is my desire to use the Chapter 1 1 Reorganization process to restructure and reorganize
my financial affairs and my property, including my real property at 163 Roe Avenue,
Patchogue, New York (of which I am now sole owner given that my husband recently
passed away). It is my intent to try to keep this real property. The needs and interests of
my creditors will best be served by my continued management of my financial affairs as
Debtor-in-Possession under Chapter 11 of the Code, until confirmation of a
reorganization plan. LBR 1007-4(a)(xvi1) .

Pursuant to 28` U.S.C section 1746, I declare under the penalty of perjury that the

foregoing is true and correct.

Dated: June 21 , 2018 /s/ Doreen Hoffrnan @Q\-' /SL% -
DOREEN HOFFMAN

Debtor-in-Possession

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IN THE UNITED STATES BANKRUPTCY

COURT FOR THE EASTERN DISTRICT OF NEW YORK

 

In Re:
Doreen Hoffman

Debtor(s)

 

 

Chapter 11

Bankruptcy Case: 18--72852

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I, John P. Fazzio l]I, hereby affirm, under the penalty of perjury, that a true and correct
copy of the within Rule 1007 Affidavit,‘Notice of Motion to Admit Counsel Pro Hac Vice with
Affidavit and Proposed Order, Notice of Motion Employ Bankruptcy Counsel Thaddeus R.
Maciag as Co-Counsel with Application, Af`finnation, and Proposed Form of Order, together
with this Certificate, was sent by first class, postage prepaid mail on the Creditor Counsel and
the Trustee and all other required parties in accordance With the Rules of Bankruptcy Procedure

on the date set forth below.

Henry Weinstein
37 Maple Avenue
Cedarhurst, NY l 1516

New City Funding Corp.
PO Box 121
Stony Point, NY 10980

Rushmore Loan Management
PO Box 52708
Irvine, CA 92619

Suffolk County Water
2045 Route 1112, Suite 5
Coram, NY 11727

US Bank NA as Legal Title Trustee
200 Business Park Drive
Armonk, NY 10504

U.S. lnternal Revenue Service
PO Box 804527
Cincinnati, OH 45280-4527

AMCMA
4 Westchester Plaza, Suite 110
Elmsford, NY 10523

American Medical Collection
4 Westchester Plaza

via ECF and First Class Mail
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Elmsford, NY 10523

Credit Collections Services
725 Canton Street
Norwood, MA 02062

Credit One Bank
PO Box 60500
City of Industry, CA 91715

Excluder Security Systems
PO Box 1286
Massapequa, NY 11758

Fazzio Law Offices
164 Franklin Turnpike
Mahwah, NJ 07430

Joyce Ciccone
9337 Santa Monica Way
New Port Richey, FL 34655

Lennox Hill Hospital
co-Automated Financial

4505 Veterans Mem. Hwy, Ste H
Lake Ronkonkoma, NY 11779

LI Anesthesiologist
3 Boyle Road
Selden, NY 11784

Linda Cerami
107 Laurel Street
Patchogue, NY 11772

Mullen & Iannarone PC
300 East Main Street
Smithtown, NY 11787

NY State Dept. of Taxation
NYS Assessment Receivables
PO Box 4127

Binghamton, NY 13902-4127

National Grid
PO Box 11791
Newark, NJ 07101

Optimum Cable Vision
1111 Stewart Ave.
Bethpage, NY 11714

PSEG-LI
PO Box 888
Hicksville, NY 11802

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Quest Diagnostics
PO Box 7308
Hollister, MO 65673-7308

Stewart Brody DDS

c-o Richard Sokoloff Esq.
900 S. 2nd Street, Suite l
Ronkonkoma, NY 11779

Date: 06/21/2018 BY:

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FAZZIO LAW OFFICES

/s/ John P. Fazzio III, Esguire
Fazzio Law Offices

164 Franklin Tpke
Mahwah, NJ 07430
Tel. 201-529-8024
Attorney for Debtor

